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EEOC Form 5 (11/09)

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ FEPA
Statement and other information before completing this form.
[x] eeoc 460-2023-00404
Texas Workforce Commission Civil Rights Division and EEOC
State or local Agency, if any
Name (Indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Monica Peters-Clark, Ph.D. (225) 235-7454 12/31/1971
Street Address City, State and ZIP Code

301 Saddle Ridge Drive, Lufkin, TX 75904

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against'Me or Others. (/f more than two, list under PARTICULARS below.)

Name No. Employees, Members Phone No. (include Area Code)
Angelina College 200+ (936) 633-5210
Street Address City, State and ZIP Code

3500:South First Street, Lufkin, TX 75901

Name No. Employees, Members Phone No. (include Area Code)
Street Address City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest

[x] RACE [x] COLOR [] SEX [| RELIGION [| NATIONAL ORIGIN 2/28/22 4/18/22
RETALIATION [] AGE [| DISABILITY [| GENETIC INFORMATION

OTHER (Specify) [| CONTINUING ACTION

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet(s)):
| am a 50-year-old, African American/black female.

On or about February 28, 2022, | applied for the “Executive Director of Institutional Effectiveness’ position at
Angelina College. This was a new position created by Angelina College. Angelina allege posted the
position on or about February 18, 2022.

| was well qualified for the position as | had previously served in positions responsible for Institutional
Effectiveness at Angelina College from approximately 2006 to November 2016. The exact title of my position
varied somewhat over those years. In November 2016, Angelina College President Michael Simon, Ed.D.
(white male) reassigned me to the position of “Coordinator of Quality Enhancement and Innovative Projects.”

In 2017, my position was “eliminated” and a new position was created out of my old position. Angelina
College then hired a white female to fill that position. | filed an EEOC Charge against Angelina College and
ultimately a federal lawsuit against Angelina College and President Simon over these actions. See Peters-
Clark v. Angelina College, Michael Simon, and Cynthia Casparis, No. 9:20-CV-00031-MJT-ZJH (E.D. Tex. —
Lufkin).

During the lawsuit, | represented myself pro se. The lawsuit was dismissed at the summary judgment stage
on or about March 10, 2022.

Going back to the “Executive Director of Institutional Effectiveness” position, Angelina College closed the
position to new applicants on March 4, 2022.

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The next Tuesday, March 7, 2022, | contacted Angelina College Human Resources regarding the position
and asked when the screening and interview process was going to begin. | was told “before spring break.”
Angelina College’s spring break began on March 11, 2022.

| have since learned that by the time | contacted HR on March 7, 2022, three candidates had already been
interviewed (2 candidates on March 2, 2022, and 1 candidate on March 4, 2022). In other words, HR's
statement that the process was going to begin “before spring break” was misleading if not an outright
falsehood.

On March 9, 2022, | was contacted by HR and asked to interview for the position that morning. In my
experience in higher education, barring truly exceptional circumstances it is highly unusual to ask a
candidate for a senior-level position to interview for a position with no prior notice. Wanting the position,
however, | explained to HR that | could interview that afternoon. | had meetings at my current job that
moming, which | explained to HR. HR eventually scheduled my interview for March 10, 2022.

On March 10, 2022, | had a video-conference interview with members of the screening committee. | was
shocked to see Dr. Simon on the interview committee. It is highly unusual for a College President to serve
on a screening committee for any position because the President is who accepts the screening committee’s
recommendations and makes the ultimate decision. Even more strange, not only was Dr. Simon on the
committee, but he was also chairing the committee.

Moreover, many of the members of the screening committee had nothing to do with “Institutional
Effectiveness.”

| nevertheless proceeded with the interview and hoped for the best.

The next day, | saw Winifred Adams, who is the Dean of Health Careers at Angelina College. Ms. Adams
told me that she had spoken with Dr. Sandra Brannan, the Director of Nursing and a member of the
screening committee, about a week prior—i.e., before my interview on March 10, 2022. Dr. Brannan made
the comment to Ms. Adams that they were interviewing applicants and that “! don't even know why this one
person applied because they were fired because of plagiarism.” Dr. Brannan confirmed that | was the
applicant that she was referring to. Dr. Brannan also told Ms. Adams that there was a discussion among the
screening committee about whether to even interview me at all.

To be clear, | have never been fired because of plagiarism or anything of the sort. Further, Dr. Brannan was
not even employed at Angelina College when | worked there so she had to have gotten that information from
someone else on the screening committee.

Ms. Adams also told me that Jennifer Baldauf—currently the Director of Dual Credit—told her (Ms. Adams)
that Sarah Simon, President Simon’s wife, made the comment before the search even began that Dr. Simon
was going to hire her friend, a woman white named Joy Row from Temple College for the position.

After several weeks, | heard nothing about the position ofmy.interview, so | sent several emails to HR on
April 5, 2022, and April 12, 2022, with no response.

On April 15, 2022, | received an email stating that | was not.selected for the position.
| have since learned that Joy Row actually accepted the positionon_or about March 12, 2022—two days after

my interview—and began work at Angelina College on-or about March 28, 2022. Accordingly, HR knew prior
to my April 5, 2022 email that | had not been selected for the poSition;, but waited Over 10 days to tell me.

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On April 18, 2022, Angelina College announced at its Board Meeting that Joy Row had been hired for the
position.

Prior to being hired, Ms. Row held the title of “Senior Data Analyst” in Temple College’s Office of Office of
Institutional Effectiveness, Research, and Planning. | had been working in Institutional Effectiveness for over
10 years at Angelina College. Ms. Row also only has a master’s degree, whereas | have a doctoral degree.

| was clearly better qualified for the position than Ms. Row.

| subsequently filed a complaint with Angelina College regarding my non-selection for the position as well as
Angelina College not following procedures and engaging in discriminatory hiring practices.

During Angelina College's internal investigation, two female members of the screening ‘committee were
interviewed by HR. One stated that she did not make the statement about me being fired for plagiarism:
Curiously, the other female claimed that she “could not recall” making the statement:

To my knowledge since Dr. Patricia McKenzie (African-American female) retired in 2016), Angelina College
has hired no women of color to any executive level—i.e., Vice-President or Executive Director positions.
Many qualified women of color have applied for executive positions, yet in over6 years noné have been
hired.

In short, | am a member of a protected class—African American; | was qualified for the position; | was not
selected for the position despite being clearly qualified; and a white applicant was selected with less
qualifications. That is a prima facie case of race discrimination under Title VIl and Chapter 21 of the Texas
Labor Code.

Further, | believe that my prior EEOC Charge and federal lawsuit played a role in my non-selection for the
position. My lawsuit was still ongoing at the time of my application, and it was obvious from the comment
that | was allegedly “fired for plagiarism” that the screening committee, chaired by Dr. Simon, held a bias

against me.

| believe | was discriminated against based on race in violation of the Title VIl and Chapter 21 of the Texas
Labor Code. | also believe that | was unlawfully retaliated against in violation of Title VII and Chapter 21 of
the Texas Labor Code for filing a prior EEOC/TWCCRD Charge and lawsuit against Angelina College and
Dr. Simon. | want this charge filed with all pertinent entities.

| want this charge filed with both the EEOC and the State or local Agency, if any. | “UM hen necessary for Sfate and Local Agency Requirements

will advise the agencies if | change my address or phone number and | will Wl ive ULI

cooperate fully with them in the processing of my charge in accordance with their Le UL

procedures. = swear or affirm that | Wave read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowlédge, information and belief.

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